            Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 1 of 14
                                                                                         United States Courts
          Sealed                                                                       Southern District of Texas
                                                                                                FILED
Public and unofficial staff access
     to this instrument are                                                               November 03, 2020
   prohibited by court order IN THE UNITED STATES DISTRICT COURT                                     
                               FOR THE SOUTHERN DISTRICT OF TEXAS                    David J. Bradley, Clerk of Court
                                        HOUSTON DIVISION

     UNITED STATES OF AMERICA                           §
                                                        §
                    VS.                                 §       CRIMINAL NO.          4:20cr535
                                                        §
     ZHENG “MIRANDA” ZHOU,                              §         UNDER SEAL
     QINGHUA “SHIRLEY” SONG                             §
     KUN “BRUCE” LIU,                                   §
     YUE “JOANNA” PENG,                                 §
     DENG “DAVID” YONGQIANG,                            §
     LI “CATHY” CHEN,                                  §
     XIN “DEVIN” ZHANG,                                §
     SHAOHUI “JASPER” JIA,                             §
         Defendants.

                                                 INDICTMENT

     The United States Grand Jury charges:

                                                 INTRODUCTION

     At all times relevant to this Indictment:

       1. Winland International, Inc. (Winland) was incorporated in the state of Texas in 1997, and

           listed business addresses in Houston, Texas and Missouri City, Texas. Winland purported

           to sell tires to retailers and consumers.

       2. Super Tire, Inc. was incorporated in the state of Texas in 1999, with a listed business

           address in Missouri City, Texas, and was dissolved in 2009. Winland did business under

           the name of Super Tire, and through Super Tire, purported to sell tires to retailers and

           consumers.

       3. Defendant ZHENG “MIRANDA” ZHOU (ZHOU), resided in Missouri City, Texas, and

           directed and controlled the operations of Winland and Super Tire.

       4. Defendant KUN “BRUCE” LIU (LIU) resided in Sugarland, Texas, and was the Vice-



                                                       1
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 2 of 14




       President of Winland and Super Tire.

  5. Defendant QINGHUA “SHIRLEY” SONG (SONG) resided in Jurupa Valley, California,

      the People’s Republic of China, and was the President and owner of Qingdao Sinorient

      International Co. Ltd. (Sinorient).

  6. Defendant YUE “JOANNA” PENG resided in the People’s Republic of China, and was

      selling tires for Qingdao Odyking Tyre Co., Ltd. (Odyking).

  7. Defendant LI “CATHY” CHEN (CHEN) resided in the Peoples Republic of China and

      was a sales manager for Qingdao Wangyu Rubber Co., Ltd. (Wangyu).

  8. Defendant XIN “DEVIN” ZHANG (ZHANG) resided in the Peoples Republic of China

      and was an agent of Winland.

  9. Defendant SHAOHUI “JASPER” JIA (JIA) resided in the People's Republic of China

      and was an agent of Winland.

  10. Defendant DENG “DAVID” YONGQIANG (YONGQIANG) resided in the People's

      Republic of China and was an agent of Winland.

                                   GENERAL ALLEGATIONS

Importing Merchandise into the United States

  11. The Harmonized Tariff Schedule of the United States (HTSUS) set forth tariff (duty) rates

      and statistical categories for all merchandise imported into the United States. The HTSUS

      was based on the Harmonized System, which was the global system of nomenclature

      applied to most world trade in goods.

  12. Companies and individuals that imported merchandise into the United States were required

      to pay duties associated with that merchandise identified in the HTSUS, as well as any

      additional duties mandated by the United States, including antidumping duties.



                                                  2
   Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 3 of 14




13. It was the responsibility of U.S. Customs and Border Protection (CBP) to assess and

   collect all duties, taxes and fees on merchandise imported into the United States.

14. It was the responsibility of U.S. Immigration and Customs Enforcement – Homeland

   Security Investigations (HSI) to investigate violations of customs importation laws as

   prescribed in the Tariff Act of 1930 and subsequent revisions and additions to that law.

15. Every importation of merchandise into the United States, whether free of duty and

   regardless of value, except for articles specifically exempted by law or regulation, were

   required to be accompanied by an entry package for review by CBP. The entry package

   consisted of Customs Form 3461 (CF 3461), CF 7501, and required documentation such as

   commercial invoices, packing lists, bills of lading (air or ocean shipping information),

   certificates of origin, and any other documentation required either by CBP or another

   agency with applicable regulatory requirements. CF 3461 provided information to CBP

   about the shipment, including the country of origin and the manufacturer.

16. When an importer’s shipment of merchandise reached the United States, the importer of

   record, or the importer’s authorized representative, was required to present the entry

   documents corresponding to the merchandise to CBP. The documents could be presented

   in person or through an electronic database. The information provided on the CF 7501

   assisted CBP personnel in determining the admissibility and dutiable status of the

   merchandise.

17. Any applicable customs’ duties are calculated by CBP by applying the proper duty rate for

   the specific merchandise to its value as shown on the invoice and the other supporting

   documentation. One particular type of duty is an antidumping duty.




                                             3
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 4 of 14




Antidumping Duties on Tires from China

  18. Per Title VII of the Tariff Act of 1930, antidumping duties are designed to protect

      domestic industry from injury when supplier countries “dump” cheaper foreign

      merchandise into the commerce of the United States. Antidumping duties are imposed

      after a determination has been made by the U.S. Department of Commerce (DOC) that a

      class or kind of foreign merchandise is being sold in the United States at less than fair

      market value. Antidumping duties are to be paid by the importer at the time of entry in

      addition to any other duty owed for the merchandise. The payment of antidumping duties

      by the importer ensures that foreign suppliers do not gain unfair advantage over American

      manufacturers.

  19. Beginning on July 15, 2008, DOC published antidumping duty orders (ADD Orders)

      imposing antidumping duties on importations of certain Off-the-Road (OTR) Tires from

      the People’s Republic of China (PRC) (together, OTR Tire ADD Orders). DOC issued

      OTR Tire ADD Orders because tire manufacturers in the PRC were “underselling” OTR

      tires. These unfair practices caused material harm to the U.S. tire industry, including

      decreased production, decreased employment, and lost sales and revenue.

  20. On August 10, 2015, DOC published antidumping duty orders which imposed antidumping

      duties on importations of certain passenger vehicle and light truck (PVLT) tires from the

      People’s Republic of China (PRC) (together, PVLT Tire ADD Orders). DOC issued PVLT

      Tire ADD Orders because PVLT Tire manufacturers in the PRC were selling PVLT tires in

      the United States at less than fair market value, and these unfair practices caused material

      harm to the U.S. tire industry.




                                                 4
    Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 5 of 14




 21. PVLT Tire ADD Orders required companies and individuals importing PVLT tires into the

    United States from PRC to pay an additional country-wide antidumping duty rate

    equivalent to 76.46 percent of the value of the tires imported. However, PVLT Tire ADD

    Orders provided that select manufacturers and exporters (Combination Manufacturers-

    Exporters) would not be assessed the country-wide 76.46 percent duty rate, but would

    instead be assessed alternative Combination Duty Rates.

 22. OTR Tire ADD Orders required companies and individuals importing OTR Tires into the

    United States from PRC to pay a country-wide antidumping duty rate equivalent to 210.48

    percent of the value of the tires imported.

                                        COUNT ONE

                                  Conspiracy to Wire Fraud
                                   Title 18 U.S.C. § 1349

THE CONSPIRACY

 23. From in or around November 2008, and continuing to in or about December 2018, in the

    Houston Division of the Southern District of Texas, and elsewhere,

                         ZHENG “MIRANDA” ZHOU (ZHOU),

                         QINGHUA “SHIRLEY” SONG (SONG)

                                  KUN “BRUCE” LIU (LIU),

                            XIN “DEVIN” ZHANG (ZHANG),

                             YUE “JOANNA” PENG (PENG),

                             SHAOHUI “JASPER” JIA (JIA),

                 DENG “DAVID” YONGQIANG (YONGQIANG), and

                               LI “CATHY” CHEN (CHEN)



                                                  5
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 6 of 14




did knowingly conspire and agree with each other and others known and unknown to the grand

jury to intentionally and knowingly devise and intend to devise a scheme and artifice to defraud,

and for obtaining money and property by means of false and fraudulent pretenses,

representations, and promises, and to knowingly use and cause to be used interstate wire

communications facilities in carrying out the scheme to defraud, in violation of Title 18, United

States Code, Section 1343.

THE PURPOSE OF THE CONSPIRACY

  24. It was a purpose of the conspiracy that the co-conspirators operated a scheme to

      fraudulently avoid making duty payments to the United States by submitting false entry

      documents, false invoices, and/or false wire transfer records to CBP.

  25. The co-conspirators falsified entry documents submitted to CBP that concealed the actual

      manufacturer and exporter of tires imported into the United States.

  26. The co-conspirators entered false value amounts associated with these tires, which in turn

      caused fewer duties to be paid to the United States.

  27. The co-conspirators manipulated and submitted to CBP false wire transfer records to

      conceal the amounts actually paid for the tires to conceal the scheme.

  28. The co-conspirators used interstate and international wires to carry out the scheme.

        THE MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which the defendant and co-conspirators sought to accomplish the

object and purpose of the conspiracy included, among other things, the following:

  29. The co-conspirators would and did purchase OTR Tires and PVLT Tires from PRC

      manufacturers that were subject to the PRC country wide ADD duty rates associated with

      OTR Tires (210.48%) and PVLT Tires (76.46%).


                                                6
   Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 7 of 14




30. The co-conspirators would and did pay and receive money and valuable consideration in

   exchange for using pro-forma records of Combination Exporters-Manufacturers to create

   the false impression that OTR and PVLT Tires manufactured by Combination Exporters-

   Manufacturers were being imported into the United States.

31. The co-conspirators would and did cause to be submitted to CBP entry records claiming

   that OTR Tires and PVLT Tires entered into the United States were exempt from the PRC

   country-wide duty rates associated with OTR Tires and PLVT Tires, and instead were

   subject to the lower Combination Duty Rates associated with Combination Exporters-

   Manufacturers. These entry records submitted to CBP allowed the co-conspirators to pay

   the lower Combination Duty Rates, instead of the higher PRC country-wide duty rates

   associated with OTR Tires and PVLT Tires made by the true manufacturer of these tires.

32. The co-conspirators would and did cause to be created false invoices and false entry

   documents to (1) conceal the actual manufacturers and exporters of OTR Tires and PVLT

   Tires imported into the United States, and (2) understate the value of OTR Tires and PVLT

   Tires imported into the United States.

33. The co-conspirators would and did cause to be created and submitted to CBP falsified

   records of wire transfers, to conceal the actual amounts paid for OTR Tires and PVLT Tires

   and to conceal the true manufacturers of the OTR Tires and PVLT Tires imported into the

   United States.

34. The co-conspirators used interstate and international wires to submit false records to CBP

   and to otherwise carry out the scheme.




                                             7
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 8 of 14




                                       COUNTS TWO - SIX
                                             Wire Fraud
                                   Title 18 U.S.C. §§ 1343 and 2

    At all times material to this indictment:

       The Grand Jury re-alleges and incorporates by reference, as though fully set forth

herein, the allegations contained in paragraphs one through thirty-four of the indictment:

        THE SCHEME TO DEFRAUD

  35. From in or about November 2008, and continuing to in or about December 2018, in the

      Houston Division of the Southern District of Texas and elsewhere, the defendants,


                            ZHENG “MIRANDA” ZHOU (ZHOU),

                            QINGHUA “SHIRLEY” SONG (SONG)

                                     KUN “BRUCE” LIU (LIU),

                               XIN “DEVIN” ZHANG (ZHANG),

                               YUE “JOANNA” PENG (PENG),

                                SHAOHUI “JASPER” JIA (JIA),

                    DENG “DAVID” YONGQIANG (YONGQIANG), and

                                  LI “CATHY” CHEN (CHEN)

did aid and abet one another and others known and unknown to the Grand Jury, to knowingly

devise and intend to devise a scheme and artifice to defraud, for obtaining money and property by

means of false and fraudulent pretenses, representations, and promises.




                                                 8
    Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 9 of 14




     THE MANNER AND MEANS OF THE SCHEME


 36. It was part of the scheme that the defendants ZHOU and LIU did purchase OTR Tires and

    PVLT Tires from PRC manufacturers that were subject to the PRC country-wide ADD duty

    rates associated with OTR Tires (210.48%) and PVLT Tires (76.46%).

 37. It was further part of the scheme that the defendants ZHOU and LIU would and did pay

    and receive money and valuable consideration to SONG and CHEN in exchange for using

    pro-forma records of Combination Exporters-Manufacturers to create the false impression

    that OTR and PVLT Tires manufactured by Combination Exporters-Manufacturers were

    being imported into the United States.

 38. It was further part of the scheme that JIA, SONG and CHEN would and did create,

    supply, or cause the creation or supply of, falsified records or pro-forma templates for

    falsified records of Combination Exporters-Manufacturers.

 39. It was further part of the scheme that ZHOU and LIU would and did cause to be

    submitted to CBP false entry records claiming that OTR Tires and PVLT Tires entered into

    the United States were purchased from Combination Exporters-Manufacturers, and were

    therefore exempt from the PRC country-wide duty rates associated with OTR Tires and

    PLVT Tires from PRC.

 40. It was further part of the scheme that ZHOU and LIU would and did cause to be created

    false invoices and other false entry documents to conceal the actual manufacturers and

    exporters of OTR Tires and PVLT Tires imported into the United States by Winland and

    Super-Tire.

THE EXECUTION OF THE SCHEME

 41. On or about the dates set forth below, for the purpose of executing the aforementioned

                                              9
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 10 of 14




scheme to defraud and intending to do so, the defendants did aid and abet one another and others

known and unknown to the grand jury, to transmit and cause to be transmitted in interstate and

foreign commerce writings, signals and communications, that is, the defendants submitted

declarations to CBP falsely stating that the names of manufacturers and exporters of tires

imported into the United States by Winland and Super-Tire, in which caused an electronic signal

to travel across state lines from Winland and Super-Tire computers located in the Southern

District of Texas to a CBP computer located in Springfield, Virginia, in the following amounts:

  COUNT        DEFENDANT          ENTRY/          CLAIMED                     ACTUAL
                                   DATE      MANUFACTURER/              MANUFACTURER/
                                                EXPORTER &                 EXPORTER &
                                                 DUTY RATE                  DUTY RATE
  2            ZHOU              E6F-       Tengzhou Broncho            Qingdao Wangyu
               ZHANG             00004495/ Tyre Co., Ltd./              Rubber Co., Ltd.
               JIA               May 18,    Qingdao Sinorient           210.48%
               SONG              2016       International Co., Ltd.
               CHEN                         13.92%
  3            ZHOU              E6F-       Tengzhou Broncho            Qingdao Wangyu
               ZHANG             00004842/ Tyre Co., Ltd./              Rubber Co., Ltd.
               JIA               January    Qingdao Sinorient           210.48%
               SONG              16, 2017   International Co., Ltd.
               CHEN                         13.92%
  4            ZHOU              E6F-       Tengzhou Broncho            Qingdao Wangyu
               JIA               00004883/ Tyre Co., Ltd./              Rubber Co., Ltd.
               CHEN              May 5,     Qingdao Sinorient           210.48%
               SONG              2017       International, Ltd.
  5            ZHOU              E6F-       Tengzhou Broncho            Qingdao Wangyu
               JIA               00005963 Tyre Co., Ltd./Qingdao        Rubber Co., Ltd.
               CHEN              January 7, Sinorient International     210.48%
               SONG              2018       Co., Ltd.
                                            13.92%
  6            ZHOU              E6F-       Tengzhou Broncho            Qingdao Wangyu
               JIA               00006615 Tyre Co., Ltd./Qingdao        Rubber Co., Ltd.
               CHEN              May 3,     Sinorient International     210.48%
               SONG              2018       Co., Ltd.
                                            13.92%

       All in violation of Title 18, United States Code, Section 1343 and 2.



                                                10
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 11 of 14




                                     COUNTS SEVEN - TEN

                  ENTRY OF GOODS BY MEANS OF FALSE STATEMENTS
                              Title 18 U.S.C. §§ 542 and 2

At all times material to this indictment:

        The Grand Jury re-alleges and incorporates by reference, as though fully set forth

herein, the allegations contained in paragraphs one through thirty-four of the indictment.

       From in or about November 2008 through August 22, 2018, in the Houston Division of

the Southern District of Texas and elsewhere, the defendants,


                            ZHENG “MIRANDA” ZHOU (ZHOU),

                            QINGHUA “SHIRLEY” SONG (SONG)

                                     KUN “BRUCE” LIU (LIU),

                               XIN “DEVIN” ZHANG (ZHANG),

                                YUE “JOANNA” PENG (PENG),

                                SHAOHUI “JASPER” JIA (JIA),

                    DENG “DAVID” YONGQIANG (YONGQIANG), and

                                  LI “CATHY” CHEN (CHEN)

did aid and abet with others known and unknown to the Grand Jury, to knowingly devise and

intend to devise a scheme and artifice to enter or introduce into the commerce of the United

States imported merchandise by means of fraudulent or false invoices, declarations, and by means

of false statements, written and verbal, and by means of false or fraudulent practices or

appliances, and by false statements in a declaration without reasonable cause to believe the truth

of such statement, and for obtaining money and property by means of false and fraudulent

pretenses, representations, and promises.



                                                11
    Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 12 of 14




THE MANNER AND MEANS OF THE SCHEME

 42. It was part of the scheme that the defendants ZHOU, LIU, YONGQIANG, JIA,

     SONG, and CHEN would and did submit, or cause to be submitted, false invoices

     and false entry records to CBP for the purpose of entering OTR Tires and PVLT

     Tires into the United States and paying fewer duties on this merchandise than would have

     been paid if true invoices and entry records were submitted.

 43. It was a further part of the scheme that the defendants ZHOU and LIU would and

     did pay valuable consideration to defendants SONG, YONGQIANG and CHEN in

    exchange for using pro-forma invoices and entry records of PRC manufacturers and

    exporters of PRC tires to submit false claims to CBP.

 44. It was a further part of the scheme that the defendants SONG, YONGQIANG and

     CHEN would provide to defendants ZHOU and LIU invoices which falsely reflected

    lower amounts paid by Winland for tires than the amounts that were actually paid by

    Winland for these tires.

 45. It was a further part of the scheme that the defendants ZHOU and LIU would use

     these falsified invoices with the false low values to support the submission of false entry

    records for Winland, and claim to CBP that Winland paid less for tires than it actually paid,

    thus allowing Winland to pay fewer duties to CBP than it would have paid if the entry

    records were true.

THE EXECUTION OF THE SCHEME

 46. On or about the dates set forth below, for the purpose of executing the aforementioned

    scheme to defraud and intending to do so, the defendants did intentionally and knowingly,

    aid and abet one another and others known and unknown to the Grand Jury, and caused and


                                              12
        Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 13 of 14




        attempted to cause to be entered into the commerce of the United States through the

        Houston, Texas metropolitan area in the Southern District of Texas, and elsewhere, the

        following entries of PVLT Tires, and did intentionally and knowingly aid and abet one

        another and others known to the Grand Jury, and caused to be submitted to CBP, the

        following false statements relating to the value of these tires, all with no reasonable cause

        to believe the truth of these statements:

   COUNT DEFENDANT                 ENTRY NO. DATE                    ENTERED          PRICE
                                                                     VALUE            ACTUALLY
                                                                                      PAID

   7           ZHOU      E6F-00004586                                $68,729.00       $91,308.30
               ZHANG     May 26, 2016
               YONGQIANG

   8           ZHOU                EAE-01236395                      $60,950.00       $95,344.00
                                   October 31, 2017
   9           ZHOU                E6F-00005450                      $33,917.00       $48,941.22
               LIU                 August 10, 2017
   10          ZHOU                E6F-00006599 & E6F-               $17,436.00 &     $24,909.30 &
               LIU                 00006912                          $18,876.50       $27,481.00
                                   May 1, 2018 & July 23, 2018

All in violation of Title 18, United States Code, Section 542 and 2.


                             NOTICE OF CRIMINAL FORFEITURE

         Pursuant to Title 18, United States Code, Sections 981(a)(1)(c) and 982(a)(2)(B), the

United States gives notice that upon a Defendants’ conviction of an offense charged in Counts 1 -

10, the United States will seek forfeiture of all property, real or personal, which constitutes or is

derived from proceeds traceable to such offenses.

         The United States gives notice that it will seek a money judgment against each Defendant.

In the event that one or more conditions listed in Title 21, United States Code, Section 853(p)




                                                    13
      Case 4:20-cr-00535 Document 1 Filed on 11/03/20 in TXSD Page 14 of 14




exist, the United States will seek to forfeit any other property of the Defendants up to the amount

of the money judgment.

                                                     A TRUE BILL:


                                                        Original Signature on File
                                                     FOREPERSON OF THE GRAND JURY




       RYAN K. PATRICK
       UNITED STATES ATTORNEY




                                                14
